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EXHIBIT H
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VOLUME II

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN. RE:

Methyl Tertiary Butyl:MDL NO. 1358 (SAS)
Ether ("MTBE") :

Products Liability

Litigation

In Re: City Of New York

CONFIDENTIAL (Per 2004 MDL 1358 Order)

April 9, 2009

Contintued CONFIDENTIAL
Videotaped Deposition of MARCEL G. MOREAU,
held in the law offices of McDermott,
Will & Emery, 340 Madison Avenue, New
York, New York, beginning at
approximately 8:59 a.m., before Ann V.
Kaufmann, a Registered Professional
Reporter, Certified Realtime Reporter,
Approved Reporter of the U.S. District
Court, and a Notary Public.

GOLKOW TECHNOLOGIES, INC.
877.370.3377 ph|917.591.5672 fax
deps@golkow.com

Golkow Technologies, Inc. - 1.877.370.DEPS

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1 of your report, Mr. Moreau. 1 not receive any detailed instructions to

2 A. As best I can recall, the 2 look for releases of 2,000 gallons or

3 instructions were to identify, insofar 3 greater or make that a focus of my

4 as possible, any releases that may have 4 review.

5 occurred at this facility. I don't 5 Q. With respect to the work

6. recall the specific instruction to 6 that you performed in your rebuttal

7 identify a release source, but that's 7 expert site-specific report, were you

8 something that I usually try and 8 asked at that time to determine which

9 — identify when I'm looking for releases. 9 sites, if any, had releases of greater
10 Q. And what I'm really 10 — than 2,000 gallons of gasoline with MTBE
11 inquiring about is under the heading of 11 ‘that entered groundwater beneath any of
12 "Findings" you have a subheading of 12 the sites you reviewed?
13. "Release Source," a subheading of "How | 13 A. As best I can recall, the
14 Releases Were Discovered," "Volume 14 rebuttal report came about or the
15 __ Released," and "Timing of Releases." 15 discussion in the rebuttal report about
16 And my question really is, 16 _ releases of greater than 2,000 gallons
17 with respect to those categories, was 17 came about from a review of defendants’
18 there a specific request made of you 18 experts’ reports, one of which indicated
19 that when you were reviewing these 19 that release volumes used by other
20 documents, you should identify, if 20 experts were not consistent with release
21 possible, the release source, how the 21 volumes identified by my report. So --
22 release was discovered, the volume of 22 and specifically that the release
23 the release, and the timing of the 23 volumes used in other experts’ reports
24 release? 24 were too large and that there were no

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1 A. Just for the benefit of 1 releases of that magnitude identified.

2 anybody reading the record, when we say | 2 So] don't know that I got an

3 "release source," we are talking about a 3. instruction.

4 component of a storage system -- 4 I think as part of the

5 Q. Correct. 5 conference call the question may have

6 A. --nota place in space and 6 been asked, who can address this

7 time. 7 particular issue?

8 Again, as far as I recall, 8 And I may have volunteered

9 the instruction was to identify 9 and said, you know, that's -- you know,
10 releases, and there may have been 10 Ihave some things that I can say about
11 instructions about volume and timing. 11 that based on the site summaries that we
12 It wasa very generic assignment. 12 did. I don't recall a specific
13. That's all I can recall at the moment. 13 instruction from counsel to do that.
14 Q. Now with regard to the 14 MR. STACK: With respect to
15 release volume, were you at any pointin §15 your work in this matter, I will ask the
16 ‘time prior to preparing your report, 16 court reporter to mark a document as
17 Exhibit 16, asked to identify release 17 Exhibit 30. Exhibit 30 is labeled as
18 sites at which you believe volumes of 18 . "Expert Site Specific Rebuttal Report of
19 2,000 gallons of gasoline with MTBE or (19 Marcel Moreau, March 23, 2009."
20 greater were released into the 20 (Above-described document
21 environment and entered groundwater at | 21 marked as Moreau Exhibit 30.)
22 the site? 22 BY MR.STACK:
23 A. As I indicated earlier, the 23 Q. Iwill provide a copy to
24 instructions were very generic. I did 24 — you. I will provide a copy to your

31 (Pages 413 to 416)
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1 Boulevard. 1 on what I have here in the site summary,
2 Q. Okay. And the 35 Junction 2 did not include any site remediation
3 Boulevard station was branded as Getty; 3. data.
4 am I correct? 4 Q. The entry that appears on
5 A. That's what the site 5 the first line in the summary in the
6 summary indicates, that's correct. 6 boxes appearing below the text, it
7 Q. And with respect to this 7 indicates in '97 and 2002 there are
8 — particular location, the maximum 8 "Invoices for leak detection services,”
9. reported concentration of MTBE in 9 and it says "(Fire Department)." Do you
10 groundwater was 6.9 parts per billion; 10 know what that is a reference to?
11 aml correct? 11 A. [recall reading in the
12 A. On specific date in 2001 -- 12 Fire Department regulations that there
13 or for the documentation dated 2001, 13 were fees associated with certain
14 that was the indicated maximum amount in} 14 _ activities and this may relate to that.
15 whatever document that was. 15 Butas] sit here today, without
16 Q. Based on your review of the 16 actually reviewing the source documents,
17 documents that were available to you 17 I can't give you a hard-and-fast answer.
18 pertaining to the service station at 18 Q. Do you know if the Fire
19 35-25 Junction Boulevard in Corona,can {19 Department of the City of New York
20 you state an opinion to a reasonable 20 required that they were in attendance
21 degree of scientific or engineering 21 during any tank testing activities at
22 probability that a leak or spill at this 22 _ service stations in Queens?
23 station resulted in a 2,000-gallon 23 A. That may relate to the fees
24 release of gasoline with MTBE into 24 that were in the regulations; but,
Page 442 Page 444
1 groundwater in the regional aquifer 1 again, I don't have any definitive
2 beneath the site? 2 opinion about that at this point in
3 A. With the information 3 time.
4 available, it's not possible to 4 Q. With regard to this service
5 determine the magnitude of any release 5 — station at 49-04 College Point Boulevard
6 that may have occurred from this 6 in Flushing, can you state an opinion to
7 ~~ facility, be it 10 gallons or 10,000 7 any reasonable degree of scientific or
8 gallons. 8 engineering probability that a leak or
9 Q. With respect to the service 9 — spill at this station resulted in a
10 _ station that you next have in your text, 10 2,000-gallon release of gasoline with
11 that would be which one? 11 MTBE to groundwater in the regional
12 A. In Exhibit 16 the next 12 aquifer beneath the site?
13 station is 49-04 College Point Boulevard | 13 A. With the information at
14 in Flushing. 14 hand, it's not possible to offer an
15 Q. And with regard to this 15 opinion about whether or not a release
16 _ service station, it was branded as what 16 of 2,000 gallons or any amount of
17 refiner's brand? 17 gallons occurred at this particular
18 A. The document indicates it 18 _ site.
19 was branded BP Amoco. 19 Q. Is there anything, though,
20 Q. Was there any data 20 to indicate for this site that there was
21 reflecting testing of soil for the 21  arelease of 2,000 gallons?
22 presence of contamination at this site 22 A. If you were to accumulate
23 in the materials that you reviewed? 23 the inventory losses which are
24 A. It appears this file, based 24 unaccounted-for losses and may be
38 (Pages 441 to 444)
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1 indicative of releases, you would come 1 investigation conducted at this site.
2 up with approximately 1,600 gallons of 2 Q. And with respect to those
3 umnaccounted-for product. Again, that is 3 documents, they would indicate what in
4 unaccounted-for product, not necessarily 4 terms of the maximum concentration of
5 arelease. 5 MTBE that was detected in groundwater at
6 But other than that 6 the site?
7 information, there is no other 7 A. From the site summary data,
8 information that I can see here in this 8 it doesn't appear that groundwater
9 summary that would allow you to say 9 samples were analyzed for MTBE.
10 whether a release of 10 gallons or 10 Q. And with respect to the
11 10,000 gallons occurred at this site. 11 site which is the Texaco site you are
12 Q. With regard to: the 12 referring to, is there any indication
13 inventory analysis that was reviewed for {13 _ that there was a release of 2,000
14 _ the site at 49-04 College Point 14 gallons of gasoline with MTBE at that
15 Boulevard, are you able to state an 15 site?
16 opinion to a reasonable degree of 16 A. There's insufficient
17 _ scientific or engineering certainty that 17 information in this site summary to
18 the unaccounted-for inventory was 18 determine the magnitude of any releases
19 actually released into the environment? 19 that may have occurred from this
20 A. Without corroborating 20 facility.
21 evidence, all we can say is that there 21 ~~ QQ. And recognizing there is
22 is an unaccounted-for loss of product 22 insufficient information, can you state
23 over the periods indicated based onthe - {23 definitively with any reasonable degree
24 inventory control records. Without the 24 of scientific or engineering certainty,
Page 446 Page 448
1 corroborating evidence, it is not 1 that there was leak of at least 2,000
2 possible to say whether that product was 2 gallons released at this station?
3 lost into the ground or was unaccounted 3 A. The information at hand, it
4 for for other reasons. 4 is not possible to say whether there was
5 Q. Now, what is the next 5 or was not a release of 2,000 gallons
6 service station which is identified in 6 from this facility at any point in time.
7 the materials which you reviewed in your 7 Q. I'd like to turn now to the
8 site-specific report? 8 service station which is identified as
9 A. The next facility 9 being a Mobil station at 84-04 Parsons
10 = identified in Exhibit 16 is 65-07 10 Boulevard.
11 Woodhaven Boulevard in Queens. 11 MS. GOAD: That's three
12 Q. And that is a station that 12 stations ahead of where we were.
13. would appear to be branded under what 13 MR. STACK: Correct.
14 _ refiner's brand? 14 There's actually a method to the
15 A. There are two listed, both 15 madness.
16 Texaco and Chevron. 16 A. Okay.
17 Q. And with respect to that 17 Q. This was a summary prepared
18 location, do you have any environmental {18 by whom?
19 monitoring data to indicate the presence | 19 A. The initial summary was
20 of contamination in soil or groundwater 20 prepared by Christina Ferland.
21 at that site? 21 Q. And with regard to the
22 A. There are documents in the 22 location of these records, the records
23 file that would indicate there was some 23 that you reviewed for the site came from
24 level of site remediation or site 24 what source or sources? It looks like
39 (Pages 445 to 448)
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1 product is not correct. 1 contamination of the regional aquifer in
2 The correct data is 2 the area?
3 presented in the site-specific rebuttal 3 A. From a review of the site
4 report. 4 summary, I don't see that we have any
5 BY MR. STACK: 5 subsurface investigation data concerning
6 Q. That data indicates what in 6 this facility. So at this point in
7 the site-specific rebuttal report? 7 time, I don't have any information on
8 A. _ In the original -- in the 8 which to state whether a release of
9 ~ rebuttal report the number is:-- the 9 2,000 gallons did or did not occur at
10 cumulative amount of product loss is 10 this facility.
11 4,317 gallons, and in the original 11 Q. With regard to the sites
12 report the total amount.of product lost 12 that you reviewed, you also reviewed a
13 is listed as 2,823. 13 Long Island Railroad Hillside Support
14 Q. Okay. With respect to the 14 ‘Facility site, the Upper Holban Yard at
15 Armory site, did you determine for 15 93-59 183rd Street, Hollis, Queens. Do
16 purposes of that location how many 16 you have that in front of you?
17 gallons of fuel were released in the 17 A. Yes, I do.
18 various0 spill reports associated with 18 Q. With respect to that
19 that location? 19 location, there was some contamination
20 A. Can Ihave that question 20 ~~ noted at that location, am I correct,
21 again, please? 21 soil contamination?
22 Q. Yes. Did you determine for 22 A. It appears there was some
23 the Armory location at 93-05 168th 23 documented soil contamination present at
24 Street, Jamaica, Queens for each of the 24 this site.
Page 474 Page 476
1 _ spill events reported to the DEC how 1 Q. With respect to this
2 many gallons of fuel were released? 2 location in -- I'm looking at the
3 A. There are certain spill 3 corrected summary of releases attached
4 events that are associated with certain 4 to your supplemental -- pardon me --
5 _ spill volumes that were reported to the 5 your rebuttal report, you have estimated
6 DEC. Those numbers are cited in the 6 the gallons released in the spill events
7 site summary, where they exist. That's 7 that occurred at the 93-59 183rd Street,
8 the only information I have. It's not 8 Hollis, Queens facility; am I correct?
9 my opinion that that was the volume 9 A. Ireported the numbers that
10 released. That was the volume recorded. |10 were stated in the spill reports in that
11 Q. Do you have an opinion with 11 table.
12 respect to the volume of gasoline with 12 Q. With regard to this
13. MTBE that may have been released from (13 facility, is there any groundwater data
14 this facility? 14 that you reviewed and noted in your
15 A. At this point in time, 15 summary to indicate any detection of
16 based on the information that I have 16 MTBE in the groundwater at this site?
17 here in the site summary, I do not have 17 A. For this facility it
18  anestimate of the volume of gasoline 18 doesn't appear that MTBE was analyzed
19 that may have been released from this 19 for when groundwater samples were taken,
20 facility. 20 so we don't have any information as to
21 Q. Is there any evidence in 21 levels of MTBE that may or may not have
22 the materials that you reviewed that 22 been present in the groundwater at the
23 ‘there was a 2,000-gallon release of 23 site.
24 gasoline at this site which resulted to 24 Q. The next station I would
46 (Pages 473 to 476)
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1 like to turn your attention to is a Hess 1 transport of such releases. So I have
2 station located at 104-09 Atlantic 2 no opinion as to whether any releases
3 Avenue and it is Hess station 32318. 3 from this site may have reached the
4 With respect to that location you, 4 regional groundwater aquifer beneath it.
5 yourself, prepared the summary; am I 5 Q. And respect to this site,
6 correct? 6 do you have any opinion to a reasonable
7 A. That appears to be true, 7 degree of scientific or engineering
8 yes. 8 certainty as to whether there was.a
9 Q. With regard to this 9 release of 2,000 gallons of gasoline at
10 location, is there any evidence of MTBE [10 _ this location?
11 contamination in groundwater in the 11 A. With the evidence at hand,
12 materials that you reviewed concerning 12 _ it's not possible to determine whether
13 _ this site? 13 the volume of the releases that occurred
14 A. The question was, is there 14 at this facility, whether they were 10
15 evidence for MTBE contamination in 15 gallons or 10,000 gallons.
16 groundwater? 16 Q. You do note here in your
17 Q. At this site, yes, sir. 17 summary that there was 192 tons of
18 A. At this site. Yes, there 18 contaminated soil removed in December of
19 area few samples that were analyzed for {19 2001 when the station did an upgrade; am
20 MTBE at this site. 20 I correct?
21 Q. And with regard to those 21 A. That's what the summary
22 samples, am I correct that the maximum 22 report states, that's correct.
23 groundwater level detected for MTBE was | 23 Q. And with regard to the 192
24 128 parts per billion? 24 tons of contaminated soil, did you see
Page 478 Page 480
1 A. That's the maximum level 1 any soil sampling data to indicate
2 that we saw in the test results that we 2 exactly how much contamination was
3. were reviewing, that is correct. 3 contained in those 192 tons?
4 Q. And with respect to this 4 MS. GOAD: Objection, vague
5 facility, is there any evidence to 5 as to "how much contamination.”
6 indicate at this location that there was 6 Q. Iwill restate it. Did you
7  arelease of 2,000 gallons of gasoline 7 do any quantifiable analysis to
8 with MTBE that entered the groundwater 8 determine how much gasoline with MTBE
9 beneath the site? 9 _was present in the 192 tons of
10 A. With the evidence at hand, 10 contaminated soil removed?
11 it's not possible to determine the 11 A. With the evidence contained
12 actual volume of any releases that may 12 in the site summary, there is no
13 have occurred from this site. 13 indication of the level of contamination
14 Q. With respect to this 14 of the 192 tons of soil that were
15 location, are you able to state an 15 removed in 2001, so it's not possible to
16 opinion to a reasonable degree of 16 do any kind of an estimate of the volume
17 scientific or engineering certainty that 17 of gasoline that may have been removed
18 a leak or spill at this station resulted 18 as part of that soil removal.
19 in 2,000 gallons of gasoline entering 19 Q. In other work that you've
20 the regional groundwater aquifer beneath 20 done in your professional capacity, have
21 this location? 21 you had available to you information
22 A. My assignment in this case 22 concerning the concentration of
23 was to look at the timing and volume and | 23 _ petroleum hydrocarbons in soils which
24 origin of releases and not the fate or 24 would permit you to estimate how much
47 (Pages 477 to 480)
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1 clean soil that's removed is not labeled 1 Q. With regard to the

2  ascontaminated. So in terms of how 2 documents you reviewed, the documents

3 much overexcavation, the term is not 3 indicate that MTBE was detected in

4 used, as far as I can recall, with 4 groundwater at 2,800 parts per billion;

5 regard to this facility. 5 is that correct?

6 Q. Is there anything in the 6 A. That's what the document

7 records you reviewed to indicate that 7 ~~ indicates, that's correct.

8 .MTBE was present in the 192 tons of soil | 8 Q. And with respect to the

9 removed? 9 ~ information that you-have reviewed here,
10 A. All we know about the 192 10 were you able to quantify how much
11 tons is that it was contaminated soil. 11 gasoline with MTBE may have been
12 There was no analysis conducted, as far 12 released from this location?
13 asIcan tell, that would indicate the 13 A. Based on the information
14 exact nature of that contamination. 14 that we had available for this location,
15 Q. Can you state an opinion to 15 we were not able to arrive at a volume
16 any reasonable degree of engineering or |16 of product that may have been released
17 scientific certainty based on the 17 from this site.
18 documents you reviewed concerning the | 18 Q. With respect to this
19 Hess station at 104-09 Atlantic Avenue 19 location, can you state an opinion to a
20 as to whether or not the contaminated 20 reasonable degree of scientific or
21 soil removed contained any MTBE? 21 engineering certainty that a leak or
22 A. With the information at 22 _ spill at this site resulted in a
23 hand, which does not include any 23 2,000-gallon release?
24 analysis of the soil that was removed, 24 A. The information that's

Page 486 Page 488

1 contaminated soil that was removed, that 1 available for this site relative to a

2 would indicate the nature of the 2 release indicates that a release did

3 contamination, it's not possible to say 3 occur, but the volume of the release

4 one way or the other whether MTBE was 4 cannot be established.

5 present as a contaminant in those 192 5 Q. With regard to the next

6 tons of contaminated soil that were 6 service station, and I believe it is the

7 removed. 7 next, but I could be wrong about that,

8 Q. With regard to the service 8 Mr. Moreau, at 108-01 Atlantic Avenue,

9 — station at 104-09 Atlantic Avenue, was 9 Richmond Hills, Shell station 138695, do
10 there anything in the records to 10 you have that in front of you?
11 indicate that it had a bay drain on-site 11 A. Ido.
12 disposal system? 12 Q. With respect to this
13 A. Based on the site summary 13 location, were you able to quantify how
14 ‘that I have, the document is silent as 14 much gasoline, if any, may have been
15 to whether or not there was a bay drain 15 released at this site?
16 on-site disposal system in place at this 16 A. There is documentation in
17 facility. 17 ‘the record of a 10- to 15-gallon -- what
18 Q. With regard to the service 18 was reported as a 10- to 15-gallon spill
19 stations you reviewed, I would like to 19 from a dispenser in the 1990 time
20 turn our attention next to 105-15 20 frame. There are other spill numbers in
21 Merrick Boulevard, Jamaica, Queens, a 21 ‘the file. There's no other information
22 CITGO station. Do you have that in 22 as to the total amount of product that
23 front of you? 23 might have been released from this
24 A. Ido. 24 facility.

49 (Pages 485 to 488)
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1 Q. With regard to this 1 reports that you reviewed?

2 facility, looking at the third page of 2 A. Well, that's what was --

3 three pertaining to the summary, am I 3 that's what's indicated in the site

4 correct that in September of 2000 in the 4 summary, so that's what should be

5 _ site status report January 1999 sampling 5 indicated in the reports that are

6 showed no BTEX or MTBE detected in 6 associated with that particular tank

7 groundwater? 7 removal.

8 A. . That's a correct reading of 8 Q. With respect to the

9 the document. The abbreviation there is 9 — investigation pertaining to the removal
10 January of '99 environmental site 10 ~— of the 550-gallon heating oil UST
11 assessment did not find BTEX or MTBE in| 11 closure, was there any evidence to
12 the groundwater in whatever samples were |12 _ indicate that there was any MTBE
13 taken at that time. 13 detected in soil or groundwater as a
14 Q. And with respect to the 14 result of that tank removal?
15 entry further down that page, there's an 15 A. I'm seeing indicated on the
16 entry that says April 2003, May 2004 16 summary that there was post-excavation
17 GRASP report, "BTEX and MTBE in 17 sampling conducted, but I don't see any
18 groundwater not detected." 18 results of that sampling indicated. So
19 Am I correct that the 19  Ican't really say whether or not MTBE
20 records indicated that sampling in 2003 20 was present in the soil samples that may
21 and 2004 indicated no MTBE in the 21 have been taken as a result of the
22 groundwater at that site? 22 removal of the 550-gallon heating oil
23 A. If that was a GRASP report, 23 UST in December of 2004.
24 it probably came from a small number of | 24 Q. With respect to the

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1 monitoring wells. But for whatever 1 evidence that you've seen in this case,

2 wells were sampled at that time, the 2 is there anything to indicate in the

3 _ results indicated that there was no BTEX 3 materials that you reviewed that there

4 or MTBE in those particular samples. 4 was a 2,000-gallon release of any

5 Q. With regard to the 5 petroleum products with MTBE at this

6 documentation you reviewed, did you 6 site?

7 confirm that the spill report 04-11343 7 A. The -- outside of that one

8 was aspill of heating oil from a 8 release incident involving 10 -- well, a

9 550-gallon tank? 9 reported 10 to 15 gallons of gasoline,
10 A. I'msorry. What was the 10 there are no other records of spill
11 spill number again? 11 volumes indicated for this facility. I
12 Q. Spill -- it's on the first 12 think in the absence of any other
13 page, Marcel. It is Spill No. 13 information, it's not possible to say
14 04-11343. That was related to removal 14 what the volume or total volume of
15 ofa 550-gallon heating oil tank. Did 15 product released from this site might
16 you understand that? 16 have been.
17 A. That's what the site 17 Q. With respect to the service
18 summary indicates, that's correct. 18 stations you reviewed, I would like to
19 Q. With respect to that site 19 direct your attention next to the
20 summary, you note in the first item in 20 service station at 113-21 Merrick
21 the table that it was a 550-gallon 21 Boulevard, Jamaica. It's an ExxonMobil,
22 heating oil uST closure and there were 22 04318.
23 no soil impacts or odors during the tank 23 With respect to this
24 removal, am I correct, at least in the 24 location, the first spill report, is

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1 My question is, as part of 1 A. With the information in
2 your work in this case, when they 2 front of me today, I don't think I can
3 excavated this site and removed 200 tons 3 answer that question. I think it may be
4 of petroleum-contaminated soil, is there 4 possible to answer at least portions of
5 -any way to tell which source caused or 5 that question if we had the raw or the
6 contributed to the contamination? Was 6 full site file in front of me.
7. it the stormwater runoff from the Van 7 MR. STACK: The videographer
8 . Wyck? Was it the leakage fromthe sewer} 8 has informed me we are about to run out
9 ‘that's also referred to here as 9 of time, so'we are going to take a
10 affecting perturbations in the water 10 break, give him a chance to change his
11 table? Is it the discharges? Is it 11 tape and then resume.
12 customer releases? Is it overfills by 12 THE VIDEOGRAPHER: We're
13 truck drivers? Is it a release at the 13 going off the record. The time is
14 dispenser where there was a filter 14 2:40p.m. This is the end of tape 4 of
15 problem? Or was it the cesspool or the 15 the deposition of Marcel Moreau.
16 ~=French drain? 16 (Ms. Brillault left the
17 MS. GOAD: Objection, 17 deposition room.)
18 compound, lacks foundation. Objection {18 (Recess.)
19 to the form of the question. 19 THE VIDEOGRAPHER: Back on
20 You may answer, if you 20  therecord. The time is 2:57 p.m. This
21 understand it. 21 is the start of tape 5 of the deposition
22 A. Well, with the information 22 of Marcel Moreau.
23 in front of me today, I don't think I 23. BY MR. STACK:
24 can address that question. I think if 24 Q. With respect to the service
Page 510 Page 512
1  wehad a site diagram, which may be 1 station at 113-21 Merrick Boulevard, are
2 present in some of the original 2 you able to state an opinion to a
3 documents, it might be possible to 3. reasonable degree of scientific or
4 isolate -- it could be that the cesspool 4 engineering certainty that there was a
5 — or dry well or whatever it was is over 5 release of 2,000 gallons of gasoline
6 here and the tanks were over here. I 6 with MTBE which found its way into the
7 don't know the relationship of any of 7 regional groundwater table beneath the
8 these features on this site. So with 8 site?
9 the information that I have, I can't 9 A. There's good evidence to
10 point to the interrelationships of all 10 indicate there was a release from this
11 those variables that you mentioned in 11 site. However, the volume of that
12 your question. 12 release -- it's not possible to
13 Q. Fair to say that based on 13 establish the volume of that release
14 the information that you had available 14 with the information that I have
15 to you, you would not be able to 15 reviewed to date.
16 _ allocate to any particular source of 16 Q. The next service station
17 petroleum hydrocarbons that may have 17 _ site that I would like to review with
18 released material to soils or 18 you is the service station at 118-02
19 groundwater at the site which may have 19 Queens Boulevard, Forest Hills.
20 been responsible for what portion ofthe | 20 A. 118--
21 contamination excavated in the form of 21 Q. 118-02 Queens Boulevard,
22 200 tons of petroleum-contaminated soil? | 22 Forest Hills, Chevron No, 121096,
23 MS. GOAD: Objection, vague 23 MS. GOAD: It is about two
24 as to "responsible." 24 stations forward from our last
55 (Pages 509 to 512)
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1 discussion. 1 550-gallon USTs that were tested, do you
2 Q. I'm sorry, because I may 2 know if they were in -- 12 550-gallon
3. have just gotten them out of order. I 3 USTs tested, do you know if they were
4 apologize. 4 encased in concrete?
5 A. I found it. 5 A. Idon't see any
6 Q. With respect to this 6 information -- excuse me just a minute
7  service.station, did you see any 7 here. I don't see any information in
8 information to indicate that there was a 8 the site summary in front of me that
9 release of gasoline resulting in 9 would indicate whether or not the 12
10 detectable quantities of MTBE in the 10 tanks that were tested and failed in
11 groundwater at the site? 11 1986 were encased in concrete.
12 A. There is evidence of MTBE 12 Q. With regard to this service
13 contamination in groundwater beneath 13 station site, can you estimate what
14 this site. 14 volume of gasoline may have been
15 Q. And with respect to that 15 released into the environment from any
16 evidence, the evidence relates to 16 of the vessels or conveyances for
17 sampling from which well and at what 17 gasoline at the site?
18 time? And my confusion is that there's 18 A. Based on the information
19 a'94 result that's 38,700 and there's a 19 that we have at hand, we were not able
20 statement that there's a maximum 20 to arrive at a volume for the amount of
21 detection of 38,000 -- pardon me, 21 product that may have been released from
22 38,700, 38,000. Is that one and the 22 this site.
23 same? 23 Q. And with regard to this
24 When you look at this page, 24 site, can you state an opinion to a
Page 514 Page 516
1 you look at entry 55 at the top of 1 reasonable degree of scientific or
2 Page 2 of 3 -- 2 engineering certainty that a release of
3 A. Correct. 3 more than 2,000 gallons of gasoline with
4 Q.  -- is that the reference 4 MTBE occurred at this facility?
5 for the concentration of MTBE in 5 A. There's evidence for a
6 groundwater which is also cross- 6 release, but with the information at
7 referenced in the summary paragraph at 7 hand, we're not able to put a number on
8 38,000 parts per billion? 8 the volume of product that -- of product
9 A. Yes. In the summary 9 that may have been released with or
10 paragraph it is listed as 38,000 and in 10 without MTBE.
11 __ the table itself it is listed as 11 Q. With regard to the gasoline
12 38,700. I believe those are probably 12 that was detected in the soil and the
13 the same number. And so the date is 13 gasoline components detected in
14 1994 and monitoring well number 1 14 groundwater, do you know for this
15 apparently has a concentration of 15 facility at what time the release may
16 approximately 38,000. 38-seven might be |16 have occurred?
17 the actual number that's reported. 17 A. I think we can state that
18 Q. With regard to the USTs 18 there was a release prior to 1994, but
19 that were tested in 1986, they 19 the exact timing of the release I don't
20 apparently failed the tank tightness 20 believe can be established with the
21 testing criteria; am I correct? 21 information that we have at hand.
22 A. That's what's reported in 22 Q. With regard to the service
23 the summary, that's correct. 23 stations which you reviewed for your
24 Q. And with regard to the 12 24 site-specific report, | would like to
56 (Pages 513 to 516)
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1 turn next to the service station 1 see. So we really don't have a complete
2 identified as being located at 118-11 2 picture of the contamination at this
3 Atlantic Avenue, an Exxon station. This 3 facility.
4 location is a location where there is 4 Q. With respect to the
5 some evidence of soil contamination in 5 facility, do you know if the spill file
6 1995; am I correct? 6 and spill number were closed by the DEC?
7 A. I'm not seeing -- maybe I'm 7 A. The site summary indicates
8 missing it, but I'm not seeing any 8 that spill number 94-10736 -- is that
9 indication that groundwater was ever 9 the spill in question?
10 analyzed at this site, so it's not 10 Q. Yes, sir.
11 _ possible to say whether or not MTBE 11 A. The spill number was closed
12 contamination of the groundwater might {12 ina letter dated October 24, 1999, from
13 be present. 13. the DEC to Exxon.
14 Q. With regard to the 14 Q. With regard to the Exxon
15 excavation of USTs at this location, did 15 _ service station at 118-11 Atlantic
16 you review a report indicating that in 16 Avenue, Richmond Hill, Queens, can you
17 November of 1994 USTs for storage of 17 state an opinion with respect to that
18 gasoline were removed at the location? 18 facility to some reasonable degree of
19 A. Indications are -- the site 19 scientific or engineering certainty,
20 summary indicates that from November 9 | 20 _ thata leak or spill at this station
21 to 11 of '94 six USTs were excavated. 21 resulted in a 2,000-gallon release of
22 Q. And with regard to those 22 gasoline with MTBE into groundwater in
23 six USTs, were there soil samples 23 the regional aquifer beneath the site?
24 collected from the excavation to 24 A. With the information at
Page 518 Page 520
1 determine if there were any gasoline 1 hand or, rather, the absence of
2 compounds present in the soil? 2 information associated with this site,
3 A. The summary states that 3. it is not possible to say what volume of
4 "Bottom soil samples were collected," 4 product might have been released from
5 and that "No VOCs (no MTBE)" was 5 this facility.
6 "detected." 6 Q. Is there anything that you
7 Q. With regard to this site, 7 reviewed in this file that indicated
8 the groundwater is located, according to 8 that the New York State DEC was
9 the reports that you reviewed, 40 to 50 9 unsatisfied with the investigation that
10 feet below the ground surface? 10 was conducted and required Exxon to do
12 A. That's the indication on 11 further investigation including place
12 the site summary, that's correct. 12 borings into groundwater 40 to 50 feet
13 Q. And with regard to the work 13 below grade at this site?
14 that you performed in this case, did you 14 MS. GOAD: Objection, vague.
15 ever determine whether or not there was | 15 You may answer if you can.
16 a release at this location of 2,000 16 A. I don't have the October
17 gallons of gasoline with MTBE? 17 24, 1999, letter from DEC to Exxon that
18 A. With the information at 18 indicated site closure for this -- for
19 hand, it’s not possible to determine 19 that particular spill. So I don't -- I
20 whether or not a release of 2,000 20 really don't have any information
21 gallons or more or less than that 21 available to me to assess whether or not
22 occurred at this facility. There's no 22 the DEC was satisfied with that or
23 sampling associated with the dispenser 23 dissatisfied, I should say, with any
24 _ islands or the piping runs that I can 24 remedial actions that Exxon may have
57 (Pages 517 to 520)
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1 _ releases from a storage system. 1 conduct a review specifically to
2 However, it was not part of my 2 determine whether or not any of the
3 investigation to determine what party or 3 operating practices at any of these
4 parties may have owned these storage 4 facilities was consistent with industry
5 systems at any particular point in time. 5 practices or local requirements.
6 Q. Were you provided with 6 Q. With regard to the
7 copies of the tank registration for 7 facilities you reviewed, you did review
8 every one of the stations that you 8 files pertaining to a service station at
9 reviewed in your site-specific report by 9 118-29 Queens Boulevard, a Consolidated
10 counsel for the City of New York? 10 Edison facility. Do you have those
11 A. I think some of the tank 11 records before you?
12 _ registrations may have appeared in the 12 A. Ihave a site summary for
13 files provided with the FOIA request, 13 that facility in front of me.
14 but I don't know that we had FOIA files 14 Q. And with respect to that
15 for every one of the facilities that we 15 particular site, in looking at the
16 looked at and are presented in my site- 16 corrected version of Appendix C to your
17 specific report. 17 report, which is now in a corrected form
18 Q. With respect to the work 18 appended to your rebuttal report, did
19 that you performed in this case, did you 19 you for this location estimate the
20 form any opinions to any reasonable 20 volume of gasoline released at this
21 degree of scientific or engineering 21 facility? I believe it appears on page
22 certainty as to whether any owner or 22. «4,
23 operator of tanks in Queens for the 23 No, I misspoke.
24 sites that you reviewed failed to comply | 24 Yes, it does. It appears on
Page 526 Page 528
1 with the customs, standards, and 1 page 4 of 8 under "Defendant Sites" and
2 practices of the industry at the 2 I believe it's the third one down.
3 relevant time when leaks or releases 3 A. For one particular spill,
4 occurred? 4 Spill No. 96-14049, the spill report
5 A. The focus of my 5 indicated that 1 ounce of motor oil was
6 investigation was the volume and the 6 spilled and cleaned up. So that number,
7 timing and then the origin of releases 7 although it is indicated as -- well, it
8 from petroleum storage systems. I did 8 is less than a gallon, I guess. That
9 not attempt to do a regulatory 9 number is indicated for one of the spill
10 compliance investigation for any of 10 reports associated with 118-29 Queens
11 __ these facilities. 11 Boulevard.
12 Q. Did you at any time 12 Q. And the other report
13 undertake to determine whether or not 13 pertains to soil impacts at the time of
14 any of the parties associated with the 14 removal of gasoline tanks; am | correct?
15 operation of any of these service 15 A. Well, no soil reports, no
16 _ stations failed to comply with the 16 soil impacts were identified at the time
17 standards and practices of the industry 17 of tank removal in 1997, but a site
18 and therefore were negligent in 18 investigation in 2001 discovered some
19 operating the stations? 19 — gasoline-contaminated soil.
20 MS. GOAD: Objection, calls 20 Q. With regard to the
21 for a legal conclusion. 21 facility, 118-29 Queens Boulevard, was
22 A. My assignment in this case 22 there evidence in the file to confirm
23 _was to look at the volume, timing, and 23 ‘that there was a release of 2,000
24 origin of releases, and I did not 24 gallons of gasoline at the site?
59 (Pages 525 to 528)
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1 A. We have evidence of 1 some cases.
2 gasoline contamination, but with the 2 If we look at a time frame
3 evidence at hand, I don't think we can 3 of 12 years when MTBE was prevalent in
4 determine the exact volume that was 4 the New York City gasoline supply, a
5 released, whether that was 10 gallons, 5 volume of 2,000 gallons is less than a
6 2,000 gallons, or 20,000 gallons. 6 gallon a day being released. A system
7 Q. With respect to the work 7 leaking at that rate would have been
8. that you performed in this case, at any 8 considered tight under the EPA
9 time in your work on the matter did 9 guidelines.
10 Mr. Terry come to you and solicit your 10 So I think that the
11 opinion as to whether or not modeling 11 numbers, as far as I'm concerned, are --
12 50-, 500-, or 2,000-gallon spills was 12 would be appropriate numbers to use when
13 reasonable for any of the sites that you 13 you don't have much of anything else to
14 looked at? 14 go by.
15 A. He did not come to me 15 Q. With respect to the work
16 personally. I believe in the course of 16 that you performed in this case, what
17 one of our conference calls he 17 method did you use to determine that the
18 referenced that he was using volumes of (18 range of 50, 500, or 2,000 gallons was a
19 50,500, and 2,000 gallons as release 19 reasonable range to be used at each of
20 volumes for those facilities where 20 the sites that you reviewed as priority
21 release quantities were not known. 21 sites?
22 Q. With respect to the work 22 A. I didn't do a site-by-site
23 that you performed in this case, did you. | 23 analysis of how those numbers might be
24 ever form an opinion to a reasonable 24 used atasite. I was looking ata --
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1 degree of scientific or engineering 1 from a global perspective, those are
2 probability that selecting release 2 reasonable numbers to use based on what
3 volumes of 50, 500, or 2,000 gallons for 3 T've seen in terms of release volumes
4 releases at the service stations for 4 from various kinds of facilities in my
5 which you reviewed files was appropriate | 5 last 25 years-plus of working in this
6 or representative of the releases that 6 field.
7 you observed in the records? 7 Q. With respect to the sites
8 MS. GOAD: Objection, vague 8 that you looked at, can you tell us in
9 as to "representative." 9 the list in your report which ones are
10 You may answer. 10 the priority sites?
11 A. In the absence of other 11 A. In which report?
12 information, I think that using volumes 12 Q. In your site-specific
13. of 50, 500, and 2,000 is a reasonable -- 13 report, which of the service station
14 those are reasonable numbers to use, 14 sites that you reviewed are the priority
15 given the information such as we have at (15 _ sites?
16 hand here in Queens. 16 A. They are not identified as
17 Q. And what do you base that 17 priority or nonpriority sites in the
18 on? 18 site-specific report.
19 A. My general experience in 19 Q. With respect to the work
20 investigations, my review of inventory 20 that you performed in this case --
21 records ina lot of cases. Those are 21 A. Except in Appendix C. If
22 indicative of a range of volumes that 22 you look at the table for Appendix C, I
23 seems reasonable to me, in fact, 23 _ believe they are broken down by
24 probably a little bit conservative in 24 plaintiff and defendant in terms of the
60 (Pages 529 to 532)
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